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            S T R I ~ P O I N TTRADING, LLC and
    t OPTIONEER, LLC


                                    UNITED STATES DISTRICT COURT

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                                  CENTRAL DISTRICT OF CALIFORNIA
                                           SOUTHERN DIVISION
            STRIKEPOINT TRADING, LLC, a                    Case No. SACV07-1073 DOC (MLGx)
            California limited liability company;
            and OPTIONEER, LLC, a Nevada
            limited liability company;                     PLAINTIFF STRIKEPOINT
                                                           TRADING, LLC'S TRIAL BRIEF
                           Plaintiffs,                     [L.R. 16-10]

                                                           Hon. David 0. Carter
            AIMEE ELIZABETH SABOLYK, an
            individual dba INNOVATIVE OPTION
            STRATEGIES, and GLOBAL ASSET                   Trial: March 10, 2009
            ADVISORS, LLC an Illinois limited
            liabilit com an , and JOHN
            MAT&EWPMXNI)RAGON, an
            individual,
                           Defendants


                   Pursuant to Local Rule 16-10, Plaintiff STRIKEPOINT TRADING, LLC
            ("Strikepoint") submits this Trial Brief to reply to the legal points and authorities
            that Defendants raise in their Memorandum of Contentions of Fact and Law:


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            I.       Strikepoint's Trade Secret Misa~pro~riation
                                                              Claims:
                     StrikePoint contends, and will prove at trial, that Defendants misappropriated
            StrikePoint's trade secrets by improperly acquiring, using and disclosing
            StrikePoint's confidential client list and client contact information for Defendants'
            gain. In their Memorandum of Contentions of Fact and Law, Defendants
    I       mischaracterize the applicable law, so StrikePoint reviews it briefly here and also
            demonstrates how Defendants' characterization is not supported by the case law.
                     Under California law, information is a trade secret if it: I) derives value from
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            not being generally known to the public or to persons who can obtain economic
    1       value from its disclosure or use, and 2) is the subject of reasonable efforts to
            maintain the secrecy of the information. Cal. Civ. Code $ 3426.1(d); Reeves v.
            Hanlon (2004) 33 Ca1.4~~
                                  1140, 1155.


                     A. StrikePoint's Client List Has Independent Economic Value.
                     A client list and client contact information can have economic value to
            qualify as a trade secret if disclosure of the information would allow a competitor to
            direct its sales efforts to those customers who have already shown a willingness to
            use a unique type of service or product as opposed to a list of people who only
            might be interested. Morlife, Inc. v. Perry (1997) 56 Cal. App. 4th 15 14, 1522;
            American Credit Indemnity Co. v. Sacks (1 989) 213 Cal. App. 3d 622, 630-631. For
            example, in American Credit, supra, plaintiff was a national underwriter of credit
            insurance, an "esoteric insurance" that is sold to wholesalers that sell on credit
            terms, which is designed to protect the insured against excessive bad debts.
            American Credit, supra, 213 Cal. App. 3d at 625. The court found that the customer
            list had "potential economic value because it allow[ed] a competitor to direct sales
            efforts to the elite 6.5 percent of those potential customers which already have
            evinced a predisposition to purchase credit insurance." Id. at 63 1.



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               Similarly in Morlife, supra, the court considered whether plaintiffs client
       nformation had economic value to qualify as a trade secret. Morlife, supra, 56 Cal
       Q p . 4that 1522. Plaintiff was in the business of commercial roof repair and
       naintenance, as distinguished from replacement roofing. Id. at 1521. The court
       -ound that its customers were not readily ascertainable, but only discoverable with
       ;reat effort. Id. at 1522. In both American Credit and Morlife, the plaintiffs had
       spent a great deal of time and effort to identify a distinct population of consumers
       with a predisposition to consume the services the plaintiffs offered. This is what
       gave the client information value as trade secrets for the plaintiffs in American
       Credit and Morlife, and it is what gives economic value to Strikepoint's client list
       3nd client contact information, as well.
                In its Memorandum of Contentions, StrikePoint has already thoroughly
       Sescribed the key evidence that it will present to the jury to establish that its client
       list and client contact information has independent economic value.


                B. StrikePoint Protected The Secrecv Of Its Client List.
                StrikePoint will also prove at trial that it took reasonable steps to maintain the
       secrecy of its client list and client contact information. Reasonable efforts to
       maintain secrecy have been held to include, for example, advising employees of the
       existence of a trade secret, limiting access to a trade secret on "need to know basis,"
       and controlling plant access." Courtesy Temporary Service, Inc. v Camacho (1990)
       222 Cal. App. 3d 1278, 1288. In its Memorandum of Contentions, StrikePoint
       thoroughly describes the key evidence it will present at trial to prove that it took
       reasonable steps to maintain the secrecy of its client list and client contact
       information.




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               C. Defendants' Arguments That StrikePoint Must Demonstrate That Its
                   Client List Client Contact Information Is Its Main Asset And That Its
                   Business Relationships Are Exclusive, Have No Merit.
               In Defendants' Memorandum of Contentions of Fact and Law, they argue that
       bikepoint must show more than the two elements called for in Cal. Civ. Code
       iection 3426.1(d). Defendants claim that an "exclusive type relationship" is key to
       ktermining whether information is a trade secret.' And, Defendants claim that
       lnless the client information is Strikepoint's "main asset", it is not entitled to trade
       ;ecret protection (See Defendants' Memorandum of Contentions of Fact and Law, p.
       k25-28, p. 3.1, p. 7:6 - p. 9:l). Defendants cite three trade secret cases (Morlife,
       rupra, Courtesy Temp., supra, and American Paper v. Kirgan (1986) 183 Cal. App.
       3d 1318) as support for these propositions, but, upon review, none of them bolsters
       Defendants' point (Defendants' Memorandum of Contentions of Fact and Law, p.
       3: 13). Rather, all three confirm that, to establish that the client list and client
       :ontact information is a trade secret, StrikePoint need only establish that the client
       nformation has independent economic value and that StrikePoint took reasonable
       steps to maintain its secrecy.
                For example, in Morlijie, supra, the court evaluated the reasonable steps
       daintiff had taken to protect its client information from disclosure. While
       :valuating this evidence, the court cited the company president's testimony that the
       :lient list was the company's "main asset". The court found that the client list's
       status as the company's main asset was the reason the information was stored on
       Zomputer with restricted access. Morlife, supra, 56 Cal. App. 4that 1523. But the



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        Defendants make this claim despite this Court's rulin that "[it] does not read a lack of an
       :xclusivity requirement as determinative in deciding w?!I ether a client list is a trade secret."
       :Order Granting In Part and Denying In Part Defendants' Motion for Summary Judgment,
       3.   15:7-8.)


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       .ourt did not hold that plaintiff had to demonstrate that the client list was its main
       set.
              Similarly, in American Paper, supra, the court makes mention of 'Gexclusive
       miness relationships", but it does not find that an exclusive business relationship is
       iecessary for client information to be a trade secret. Arnevican Paper, supra 183
       Zal. App. 3d. at 1326. Instead, the court mentions the absence of exclusive business
       ,elationships while discussing all the reasons that the customers on plaintiffs client
       ist were already known or readily ascertainable to other persons in plaintiffs
       ;hipping business. Id. The court of appeal concluded that the trial court properly
       bund the plaintiffs client list was not a trade secret because it was obvious that &l
       >fplaintiff s competitors had secured the same information as plaintiff and had
       xocured the infom~ationin the same manner that plaintiff had. Id. In other words,
       .he information had no "independent economic value".
              In the third case cited by Defendants, Courtesy Temp., supra, the court
       ipplied the "two-prong test" from Cal. Civ. Code section 3426.1(d). Courtesy
       Temp., supra, 222 Cal. App. 3d at 1287. There is no mention in the decision of an
       idditional factor - neither "exclusive business relationship" nor "main asset".
              Thus, Defendants' arguments at page 7 of their Memorandum of Contentions
       - that the "main asset" factor has been recognized in the seminal case law affording
       protection to customer lists, and that the non-exclusive nature of the relationship
       between StrikePoint and its customers demonstrates that the customer information is
       not a trade secret - have no legal support. What matters is the two prong test in Cal.
       Civ. Code section 3426.1(d).


       11.    StrikePoint's Breach of Contract Claims:
              StrikePoint contends, and will establish at trial, that Defendants Sabolyk and
       Mondragon breached the Non-Disclosure Agreements ("NDA") that each signed by
       misappropriating StrikePoint's client list and client contact information and using
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      that information to solicit StrikePoint customers for Defendants' personal benefit
      and for the benefit of their employer Defendant Global Asset Advisors, LLC.
              As the Court stated in its December 22,2008 Order Granting In Part and
      Denying In Pad Defendants' Motion For Summary Judgment, the merits of
      StrikePoint's breach of contract claims turn on whether StrikePoint's client
      information is entitled to trade secret protection (Order, p. 10:4-7). In its
      Memorandum of Contentions and in the previous section of this Trial Brief,
      StrikePoint has identified to the Court the legal authorities and the key evidence
      with which it will establish that its client information is trade secret information.
              In their Memorandum of Contentions, Defendants do not deny that, if the
      client information is a trade secret, then the non-solicitation provisions in the NDAs
      are enforceable (See Defendants' Memorandum of Contentions of Fact and Law, p.
      4: 13-15). In fact, covenants not to compete (e.g. non-solicitation provisions in
      employment agreements) that are necessary to protect the employer's trade secret
      information are valid and enforceable under California law and are not invalidated
      by Cal. Bus. & Prof. Code section 16600. See Edwards II v. Arthur Andersen,
      (2008) 44 Cal. 4th 937; Muggill v. Reuben H. Donnelley Corp., (1965) 62 Cal.2d
      239; Metro Traffic Control v. Shadow Traffic Network, (1994) 22 Cal.App.4th 853;
      Merrill Lynch, Pierce, Fenner & Smith Inc. v. Chung, 2001 U S . Dist. LEXIS 3248,
      *12-13 (C.D. Cal. Feb. 2, 2001), citing John F. Matull & Assocs., Inc. v. Cloutier,
      (1987) 194 Cal. App. 3d 1049, 1054 (finding that section 16600 of the California
      Business and Professions Code does not "invalidate an employee's agreement not to
      disclose his former employer's confidential customer lists or other trade secrets or
      not to solicit these customers."); Fowler v. Varian Assocs., Inc., (1987) 196 Cal.
      App. 3d 34,44 ("Agreements designed to protect an employer's proprietary
      information do not violate section 16600.").
              In its Memorandum of Contentions, StrikePoint thoroughly describes the key
       evidence it will present at trial to prove that its client information is a trade secret,
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      md that Sabolyk and Mondragon appropriated StrikePoint's client information for
      their personal benefit and for the benefit of their employer Defendant Global Asset
      Advisors, LLC.


      111.     StrikePoint's Unfair Competition Claims:
               StrikePoint contends, and it will prove at trial, that Defendants are liable to
      StrikePoint for unfair competition under Cal. Business & Professions Code section
       17200. Misappropriation of StrikePoint's trade secrets constitutes unfair
      competition. Gregory v. Albertson 's, Inc. (2002) 104 Cal. App. 4th845, 85 1.
               StrikePoint also contends that Defendants can be liable for unfair competition
      under Section 17200 for Sabolyk and Mondragon's solicitation of StrikePoint's
      clients, even in the absence of trade secret misappropriation. This is because
      StrikePoint can establish that Defendants are liable for common law unfair
      competition by proving that: 1) StrikePoint invested substantial tlme, skill or money
      in developing and maintaining its client list and client contact information; (2) that
      defendants appropriated and used StrikePoint's client information at little or no cost;
       (3) that defendants' appropriation and use of the client information was without the
      authorization or consent of StrikePoint; and (4) that StrikePoint has been injured by
       the defendants' conduct. City Solutions, Inc. v. Clear Channel Communications,
      Inc., 365 F.3d 835, 842 (9" Cir. 2004); Balboa Ins. Co. v. Trans Global Equities
       (1990) 218 Cal. App. 3d 1327, 1342.
               To prevail on the Section 17200 claim, StrikePoint must show that a business
       or trade practice of Defendants violates any other law. Gregory, supra, 104 Cal.
       App. 4that 85 1. StrikePoint will show that Defendants' business practices
       constituted either misappropriation of trade secrets or common law unfair
       competition.




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                In its Memorandum of Contentions, Strikepoint thoroughly describes the key
      evidence it will present at trial to prove its unfair competition claims against
      Defendants.


      DATED: March 3,2009                  HEWITT & O'NEIL LLP
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                                           STRIK~POINTTRADING, LLC and
                                           OPTIONEER, LLC




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